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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 CESAR VARGAS and GLORIA VARGAS,

                           Plaintiffs,

         - against -                                                           JUDGMENT
                                                                               CV 22-7331 (NJC) (JMW)
 ARTHUR H. BROWN, JR., and PAUL CARDILE, as
 Executors of the Estate of GABRIELE LANGER a/k/a
 BARONESS G. von LANGENDORFF,

                            Defendants.
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         A Notice of Acceptance of Offer of Judgment having been filed by Plaintiffs on July 25,

 2024, accepting Defendants’ July 25, 2024 offer to allow judgment against them, jointly and

 severally, in the amount of $60,000.00, inclusive of attorneys’ fees and costs, in full and final

 resolution of all of Plaintiffs’ claims in this action, it is

         ORDERED AND ADJUDGED that judgment is entered in in favor of Plaintiffs Cesar

 Vargas and Gloria Vargas against Defendants Arthur H. Brown, Jr., and Paul Cardile, as

 Executors of the Estate of Gabriele Langer a/k/a Baroness G. Langendorff, jointly and severally,

 in the amount of $60,000.00, inclusive of attorneys’ fees and costs, in full and final resolution of

 all of Plaintiffs’ claims in this action; and that this case is closed.


Dated: July 26, 2024
       Central Islip, New York


                                                                       BRENNA B. MAHONEY
                                                                       CLERK OF COURT

                                                             By:       /s/ James J. Toritto
                                                                       Deputy Clerk
